Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 1 of 32




                          EXHIBIT 1
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 2 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 3 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 4 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 5 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 6 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 7 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 8 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 9 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 10 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 11 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 12 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 13 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 14 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 15 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 16 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 17 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 18 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 19 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 20 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 21 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 22 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 23 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 24 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 25 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 26 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 27 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 28 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 29 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 30 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 31 of 32
Case 4:20-cv-04034 Document 38-14 Filed on 01/08/21 in TXSD Page 32 of 32
